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U.S. Department of Justice

United States Attorney
Southern District of New York

The Silvio . Mollo Building
One Saint Andrew's Plaza
New York, New York 10007

February 1, 2022
The Honorable Denise L. Cote
United States District Judge
Southern District of New York
500 Pearl St.
New York, NY 10007

Re: United States v. Maximiliano Davila-Perez,
89 19 Cr. 91 (DLC)

Dear Judge Cote:

The Government writes to provide an update in this matter and to respectfully request
unsealing of the above-referenced Superseding Indictment.

On or about September 22, 2020, Maximiliano Davila-Perez (“Davila”) was charged in
Superseding Indictment S9 19 Cr. 91 (DLC) with (i) conspiring to import five kilograms and more
of cocaine into the United States, from at least in or about July 2019 though in or about September
2020, in violation of Title 21, United States Code, Section 963 (‘Count One”); and (ii) conspiring
to use or carry machineguns during and in relation to, or to possess machineguns in furtherance
of, the drug trafficking crime charged in Count One of the Superseding Indictment, in violation of
Title 18, United States Code, Section 924(0) (“Count Twe”).

Davila was previously the Director of Bolivia’s chief anti-narcotics law enforcement
agency, Fuerza Especial de Lucha Contra el Narcotrafico “FELCN”). As part of the conspiracies
charged in the Superseding Indictment, Davila exploited his official position at FELCN to secure
access to Bolivian airfields for cocaine transport and to arrange for members of Bolivian law
enforcement under his command—including individuals armed with machineguns—to provide
protection for those drug loads. DAVILA-PEREZ also worked in partnership with large-scale
cocaine suppliers who operate cocaine labs in Bolivia, and agreed to ship more than a thousand
kilograms of Bolivian cocaine to New York.

The Superseding Indictment was filed under seal. The Government understands that the
defendant was recently detained in Bolivia and we are seeking Davila’s extradition to the United

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States. Accordingly, the Government respectfully requests that Superseding Indictment S9 19 Cr.

91 (DLC) be unsealed.

SO ORDERED:
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HONO DENISE L. COTE

United Stateg District Judge
Southern District of New York

Respectfully submitted,

DAMIAN WILLIAMS
United States Attorney

{s/
Sam Adelsberg
Matthew Heliman
David Robles
Assistant United States Attorneys
(212) 637-2494 / 2278 / 2550

